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 1                STIPULATING PARTIES SHOWN ON SIGNATURE PAGE

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 8                            UNITED STATES DISTRICT COURT
 9                         NORTHERN DISTRICT OF CALIFORNIA
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11 In re Wells Fargo Mortgage Discrimination   Case No. 3:22-CV-00990-JD
   Litigation
12                                             The Hon. James Donato
13                                             JOINT STIPULATION REGARDING
                                               CONCURRENT EXPERT EVIDENCE
14                                             PROCEEDING
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 1          Pursuant to the Court’s Minute Entry for the proceedings held on September 19, 2024, (Dkt.

 2 No. 302), Plaintiffs and Defendant Wells Fargo Bank, N.A. (“Wells Fargo”) (collectively, “the

 3 Parties”) hereby stipulate and request as follows:

 4          WHEREAS, the Court has ordered a concurrent expert evidence proceeding for the Parties’

 5 motions pursuant to Federal Rule of Evidence 702. (Dkt. No. 302 (referencing, inter alia, motions

 6 to exclude Plaintiffs’ experts Mr. Dante Jackson (Dkt. No. 243), Dr. Amanda Kurzendoerfer (Dkt.

 7 No. 244), and Mr. Michael Wallace (Dkt. No. 244), and Wells Fargo’s experts Dr. Manuel Adelino

 8 (Dkt. No. 266), and Dr. Marsha Courchane (Dkt. No. 267);

 9          WHEREAS, the Court has ordered that the concurrent expert evidence proceeding will

10 involve Plaintiffs’ experts Mr. Jackson, Dr. Kurzendoerfer and Mr. Wallace and Wells Fargo’s

11 experts Dr. Adelino, Dr. Courchane, and Dr. Carlyn Irwin.1 (Dkt. No. 302);

12          WHEREAS, the Court directed the Parties to propose by October 15, 2024, a schedule for
13 the concurrent expert evidence proceeding with dates after January 10, 2025. (Dkt. No. 302);

14          WHEREAS, the Parties have reviewed the Court’s order regarding the procedure for
15 concurrent expert evidence proceedings in prior cases, including the Court’s Order re Concurrent

16 Expert Witness Proceeding in In re Capacitors Antitrust Litigation, MDL Case No. 17-mc-02801-

17 JD (Aug. 5, 2019), Dkt. No. 828 (the “Capacitors Order”); see also In Re Google Play Store

18 Antitrust Litigation, Case No. 3:20-cv-05761-JD (Oct. 9, 2020), Dkt. No. 53 (Oct. 8, 2020 Case

19 Mgmt. Conf. Minutes) (“The Court anticipates that it will hold concurrent expert proceedings,

20 known informally as hot tubs, as it did in the Capacitors case, No. 14-3264. The parties are

21 encouraged to review the orders entered there for guidance.”);

22          WHEREAS, the Parties understand from the Court’s prior orders that, subject to further
23 guidance from the Court, the expert witnesses will meet and confer to prepare a joint statement that

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     Although the Court’s Order (Dkt. No. 302) mentions Dkt. No. 268 involving Plaintiffs’ Motion to
26 Exclude Defense Expert Kristen Lennox without identifying her by name, the Court’s order

27 excludes Dr. Lennox and Plaintiffs’ expert Dr. Leana Golubchik from its list of experts to be
   involved in the concurrent expert evidence proceeding. (Dkt. No. 302.) Therefore, the Parties
28 understand that Dr. Lennox and Dr. Golubchik will not attend the proceeding.

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 1 lists the top issues for disagreement by descending order of importance and that Counsel will file in

 2 advance of the concurrent expert evidence proceeding. See, e.g., Capacitors Order at 1;

 3          WHEREAS, the Parties stipulate and agree and respectfully request that, subject to the

 4 Court’s approval, Plaintiffs’ experts Mr. Jackson, Dr. Kurzendoerfer, and Mr. Wallace and Wells

 5 Fargo’s experts Dr. Adelino, Dr. Courchane, and Dr. Irwin shall meet and confer to prepare a joint

 6 statement that lists the top issues of disagreement, by descending importance. Counsel will file the

 7 joint statement 21 days before the concurrent expert evidence proceeding;

 8          WHEREAS, the Parties stipulate and agree and respectfully request that, subject to the

 9 Court’s approval, the concurrent expert evidence proceeding be set for February 12, 2025, at 10:00

10 am. The Parties further stipulate and agree that their experts will be available to participate in the

11 concurrent expert evidence proceeding on the alternative dates of February 4, 5, 11, 18, 19, 25, 26,

12 and 27, 2025; and

13          WHEREAS, in light of the Court’s observations at the September 19, 2024 hearing that some

14 of the Rule 702 motions “go to the heart of the case,” (Dkt. No. 300, Tr. 4:12-18), the Parties

15 respectfully propose, subject to the Court’s views, that the December 12, 2024 hearings, (see Dkt.

16 No. 277), for the motion for summary judgment (Dkt. No. 272) and Rule 702 motions (Dkt. Nos.

17 266, 267, 268, 269) be continued until after the concurrent expert evidence proceeding for the Rule

18 702 motions.

19                              Counsel Signatures on the Following Page

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 1        WE SO STIPULATE.

 2                                         Respectfully submitted,

 3   Dated: October 15, 2024               By: /s/ Alan Schoenfeld
                                               Alan Schoenfeld (pro hac vice)
 4                                             7 World Trade Center
                                               250 Greenwich Street
 5                                             New York, New York 10007
                                               Telephone: 212-230-8800
 6                                             Seth P. Waxman (pro hac vice)
                                               2100 Pennsylvania Avenue NW
 7                                             Washington, DC 20037
                                               Telephone: (202) 663 6800
 8                                         Attorneys for Defendant Wells Fargo Bank, N.A.

 9   Dated: October 15, 2024               By: /s/ Alicia A. Baiardo
                                               Ava E. Lias-Booker (pro hac vice)
10                                             Alicia A. Baiardo
                                               Two Embarcadero Center, Suite 1300
11                                             San Francisco, CA 94111-3821
                                               Telephone: (415) 844-9944
12                                         Attorneys for Defendant Wells Fargo Bank, N.A.
13
     Dated: October 15, 2024               By: /s/ Amanda L. Groves
14                                             Amanda L. Groves
                                               Kobi K. Brinson (pro hac vice)
15                                             333 S. Grand Avenue, 38th Floor
                                               Los Angeles, CA 90071
16                                             Telephone: (213) 615-1700
                                           Attorneys for Defendant Wells Fargo Bank, N.A.
17
     Dated: October 15, 2024               By: /s/ Dennis S. Ellis
18                                             Dennis S. Ellis
                                               2121 Avenue of the Stars, 30th Floor
19                                             Los Angeles, California 90067
                                               Telephone: (310) 274-7100
20                                             On behalf of Plaintiffs as Interim Lead Counsel
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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2         Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence in

 3 the filing of this document has been obtained from the signatories above.

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 5 Dated: October 15, 2024                               /s/ Alicia A. Baiardo
                                                         Alicia A. Baiardo
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 1                                      [PROPOSED] ORDER

 2         PURSUANT TO STIPULATION, IT IS SO ORDERED that the Parties’ schedule for the

 3 concurrent expert evidence proceeding is GRANTED.

 4         The expert witnesses are directed to meet and confer to prepare a joint statement that lists

 5 the top issues of disagreement by descending order of importance. Counsel shall submit the expert

 6 witnesses’ Joint Submission 21 days before the concurrent expert evidence proceeding.

 7         The concurrent expert evidence proceeding is scheduled for February 12, 2025 at 10:00

 8 am.

 9         The hearings on the motion for summary judgment (Dkt. No. 272) and the motions to

10 exclude (Dkt. Nos. 266, 267, 268, 269) are continued pending further order.

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13   DATED:
                                                 Honorable James Donato
14                                               United States District Judge
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